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                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                               Jacksonville Division

NORMAN HOEWISCHER,
Plaintiff,

vs.
                                                  CASE NO. 3:11-cv-869-J-32TEM
PALMER PLAZA, LLP,
Defendants.
_____________________________________/


             AMENDED NOTICE OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the plaintiff,

Norman Hoewischer, by counsel, submits this Notice of Dismissal without prejudice.

Date: November 5, 2012                            Respectfully Submitted,

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                              CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was served via the Court's electronic

filing system upon all parties of record this 5th day of November, 2012.

                                                             /s/Stephan M. Nitz__
                                                             Stephan M. Nitz




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